      Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 1 of 26



 1   MICHAEL BAILEY
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   Assistant U.S. Attorneys
     40 N. Central Avenue, Suite 1800
 6   Phoenix, Arizona 85004-4408
     Telephone (602) 514-7500
 7
     JOHN J. KUCERA (Cal. Bar No. 274184, john.kucera@usdoj.gov)
 8   Special Assistant U.S. Attorney
     312 N. Spring Street, Suite 1200
 9   Los Angeles, CA 90012
     Telephone (213) 894-3391
10
     BRIAN BENCZKOWSKI
11   Assistant Attorney General
     Criminal Division, U.S. Department of Justice
12
     REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
13   Senior Trial Attorney, U.S. Department of Justice
     Child Exploitation and Obscenity Section
14   950 Pennsylvania Ave N.W., Room 2116
     Washington, D.C. 20530
15   Telephone (202) 616-2807
     Attorneys for Plaintiff
16
17                       IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19   United States of America,                              No. CR-18-00422-PHX-SMB

20                         Plaintiff,
                                                          UNITED STATES’ MOTION IN
21            v.                                            LIMINE TO DETERMINE
                                                         ADMISSIBILITY OF EVIDENCE
22
     Michael Lacey, et al.,
23
                           Defendants.
24
25                                       INTRODUCTION
26          The United States files this Motion in Limine to provide the Court with notice of
27   evidence the government seeks to introduce in its case-in-chief and to respectfully request
28   that the Court make a pretrial ruling that each category of evidence is admissible (or will
         Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 2 of 26




 1   be admissible once the United States lays the anticipated foundation that is discussed
 2   below). The United States has divided the evidence into five categories: (1) emails sent or
 3   received by Defendants, (2) other intra-Backpage documents produced in discovery, (3)
 4   certified domestic business records pursuant to Fed.R.Evid. 803(6) and 902(11), (4)
 5   documents produced by counsel for Michael Lacey, and (5) summary exhibits. 1              The
 6   United States believes a pretrial ruling on the admissibility of these five categories of
 7   evidence are in the interests of judicial economy because it will allow trial to proceed more
 8   smoothly and result in a more efficient and effective use of the jury’s time. 23
 9            Pretrial consideration of evidentiary matters is permissible under the rules and will
10   greatly streamline the presentation of the evidence at trial. 4 Palmerin v. City of Riverside,
11   794 F.2d 1409, 1403 (9th Cir. 1986) (“Pretrial motions are useful tools to resolve issues
12   which would otherwise ‘clutter up’ the trial. Such motions reduce the need for sidebar
13   conferences and argument outside the hearing of the jury, thereby saving jurors’ time and
14   eliminating distractions.”); United States v. Safavian, 435 F. Supp. 2d 36, 38 (D.D.C. 2006)
15   (granting government’s motion in limine to make pre-trial ruling “regarding admissibility
16   of approximately 260 emails that the government seeks to admit in its case against the
17   defendant”); id. at 43 (“At the Court’s request, the government helpfully provided a chart
18
19
     1
20           These five categories contains a large part of the evidence the United States seeks
     to introduce at trial but does not encompass all of the evidence the United States will seek
21   to admit.
     2
22          A digital media device containing this evidence is being provided to the Court and
     Defendants separately. A chart listing these documents by exhibit number and indicating
23   which theory or theories the government offers for admission of each exhibit is attached as
     Exhibit A. Exhibits D-G are being submitted under seal in accordance with the Court’s
24   Protective Order. (See CR 730.)
     3
25          This motion contains both lettered and numbered exhibits. Exhibits pertaining to
     the motion itself are identified by letter. Exhibits pertaining to the evidence the government
26   seeks to admit at trial are identified by number.
     4
27          Donnelly Corp. v. Gentex Corp., 918 F. Supp. 1126, 1130 (W.D.Mich. 1996)
     (“[T]he Court . . . has authority under Federal Rules of Evidence 103, 104, 402 and 403 (as
28   well as the Court’s inherent authority to manage trials) to make rulings concerning
     preliminary questions as to the admissibility of evidence.”).

                                                  -2-
         Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 3 of 26




 1   listing each email by exhibit number and indicating which theory or theories the
 2   government offers for admission of each exhibit”); United States v. Davis, 826 F. Supp.
 3   617, 620 (D.R.I. 1993) (“Defendants suggest that a motion in limine may not be used to
 4   admit evidence prior to trial, rather, it may only be used to exclude evidence. This
 5   argument cannot be sustained. . . . Ruling on these issues now will avoid a needless, time-
 6   consuming dispute in the middle of what is expected to be a very long trial. Therefore, this
 7   Court will exercise its discretion to rule on the motion now.”).
 8   I.       Emails Sent or Received By The Defendants 5
 9            The discovery in this case contain a large number of emails sent and received by the
10   Defendants, Defendants’ co-conspirators and other Backpage.com personnel and
11   independent contractors (e.g., El Camino Technologies, DesertNet, Goddard Gunster, and
12   a number of public relations firms). The United States intends to introduce many such
13   emails into evidence at trial. In some cases, this evidence will be introduced through a trial
14   witness who personally sent or received the email in question. No foundational questions
15   should arise in those circumstances. See Fed.R.Evid. 901(b)(1) (one acceptable method of
16   authentication is testimony by a “witness with knowledge” that “an item is what it is
17   claimed to be”).
18            In other cases, however, the United States does not anticipate calling the sender (or
19   any recipients) of the email as a trial witness. For the reasons set forth below, the United
20   States respectfully requests the Court make a pre-trial finding that all emails sent or
21   received by Defendants (or between the Defendants and Backpage employees and
22   independent contractors) are admissible.
23
24
     5
25           When this motion refers to “email,” it is referring to an email and any attachments
     associated with the email. A “message unit” is “[a]n email and any attachments that are
26   associated with the email.” Sedona Conference Glossary: Commonly Used Terms for E-
     Discovery and Digital Information Management (2d ed. Dec. 2007). The Ninth Circuit has
27   relied upon the Sedona Glossary to assist in the understanding of electronic discovery. See
     Resnick v. Netflix, Inc. (In re Online DVD-Rental Antitrust Litig.), 779 F.3d 914, 929 n.8
28   (9th Cir. 2015); see also Morgan Hill Concerned Parents Association v. California
     Department of Education, 2017 WL 445722 n.3 (E.D.CA February 2, 2017).

                                                  -3-
      Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 4 of 26




 1          a.     Authenticity
 2          As a threshold matter, the Court should find that these emails satisfy the
 3   authentication requirements of Rule 901. Rule 901(a) simply requires that a proponent of
 4   evidence makes a prima facie showing of authenticity so that a reasonable juror could find
 5   “that the item is what the proponent claims it is.” This requirement “does not erect a
 6   particularly high hurdle, and the proponent of the evidence is not required to rule out all
 7   possibilities inconsistent with authenticity, or to prove beyond any doubt that the evidence
 8   is what is purports to be.” United States v. Dhinsa, 243 F.3d 635, 658-59 (2nd Cir. 2001)
 9   (citations omitted). Once this threshold showing has been made, any questions concerning
10   the genuineness of the item normally go to the weight of the evidence. Orr v. Bank of
11   America, NT & SA, 285 F.3d 764, 773 n.6 (9th Cir. 2002) (“Once the trial judge determines
12   that there is prima facie evidence of genuineness, the evidence is admitted, and the trier of
13   fact makes its own determination of the evidence’s authenticity and weight.”). Here, there
14   are two independent reasons why the Court should find that Rule 901’s low threshold for
15   admission has been satisfied.
16                 i.   Distinctive Characteristics.
17          First, the emails can be authenticated under Rule 901(b)(4) because their
18   “appearance, contents, substance, internal patterns, [and] other distinctive characteristics”
19   show that they are what they purport to be—emails sent to and from defendants.
20   Specifically, the “to” and “from” lines located in the header at the top of each email
21   identify—by name—the sender and recipients (e.g., “FROM: Scott Spear”). In addition,
22   many of the emails include a signature and/or signature block at the end that repeats the
23   name of the sender. Finally, the contents of the emails clearly concern the business
24   operations of Backpage and related entities. (e.g., Website Technologies, Cereus
25   Properties, and Posting Solutions).
26          In United States v. Safavian, 435 F. Supp. 2d 36 (D.D.C. 2006), the court authorized
27   the admission of a cache of emails based on the presence of similar “distinctive” identifiers.
28   Safavian involved a prosecution arising from the Jack Abrahamoff lobbying scandal.


                                                 -4-
      Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 5 of 26




 1   Before the trial, the government announced that it intended to admit approximately 260
 2   emails that had been extracted from the server of Abrahamoff’s law firm, under the theory
 3   that the emails constituted “e-mail exchanges between Mr. Safavian, Mr. Abrahamoff, and
 4   other individuals.” 435 F. Supp. 2d at 38-39. The government filed a lengthy motion in
 5   limine seeking a determination that the emails would be authentic and admissible despite
 6   the absence of a witness with personal knowledge of the emails. The court granted the
 7   motion in relevant part, holding that the government could introduce the majority of the
 8   emails through its case agent or another summary witness. Id.
 9          As relevant here, the Safavian court concluded the government had made a
10   sufficient showing as to authenticity because “these e-mails contain the name of the sender
11   or recipient in the bodies of the email, in the signature blocks at the end of the e-mail, in
12   the ‘To:’ and ‘From:’ headings, and by signature of the sender. The contents of the emails
13   also authenticate them as being from the purported sender and to the purported recipient,
14   containing as they do discussions of various identifiable matters.” Id. at 40.
15          Likewise, in United States v. Siddiqui, 235 F.3d 1318 (11th Cir. 2000), the Eleventh
16   Circuit rejected an authenticity challenge to an email that had been admitted as proof of
17   communications made and received by the defendant. Id. at 1322-23. Relying on Rule
18   901(b)(4), the court found that the government had properly authenticated the email
19   showed familiarity with the underlying scheme, and because the email contained references
20   to the defendant’s nickname. Id.
21                 ii.    Emails Produced To The Government By Backpage and Carl
22                        Ferrer
23          Additionally, the Court may also conclude that the requisite showing of authenticity
24   has been met for the emails the government is seeking to admit because a large number of
25   these emails were produced to the government by Backpage and Carl Ferrer in response to
26   a subpoena.
27          On October 17, 2016, the Arizona grand jury issued a subpoena (“Subpoena 108”)
28   directing Backpage and Ferrer to produce documents related to their “reviewing, blocking,


                                                 -5-
         Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 6 of 26




 1   deleting, editing, or modifying advertisements in Adult Sections” of Backpage.com.
 2   Following months of litigation, on September 15, 2017, Davis Wright Tremaine LLP
 3   (DWT) and Henze Cook Murphy, PLLC, who represented Backpage and Ferrer in the
 4   aforementioned proceedings (and are counsel for Defendants Lacey and Larkin in this
 5   case), produced approximately 550,000 documents to the government in compliance with
 6   Subpoena 108. (See Docs 444, 524, 643-3, and 696-1.) As part of discovery in this case,
 7   the government has re-produced these records to Defendants and intends to introduce a
 8   large number of them at trial. Id.
 9            Courts (and secondary authorities) have found production in response to a document
10   request may serve in itself to authenticate the document. 6 AT Engine Controls Ltd. V.
11   Goodrich Pump & Engine Control Sys., Inc., 637 Fed. App’x 645, 649 n.7 (2d Cir. 2016)
12   (“ATEC asserts this document is not properly considered both because it is unauthenticated
13   and hearsay. We discern no manifest error in the district court’s consideration of the
14   document. The bar for authentication is not high, and… the fact that it was produced by
15   ATEC itself… made it ‘reasonable likely’ that it is [authentic].”); John Paul Mitchell Sys.
16   v. Quality King Distribs., Inc., 106 F. Supp. 2d 462, 472 (S.D.N.Y.2000) (“[T]he Court
17   admits the documents produced by CDM’s corporate custodian in response to JPMS’s
18   subpoena. The Court finds that these documents are authentic based upon two factors: the
19   act of production by CDM’s corporate representative and the documents themselves.
20   Testimony is not the sine qua non of authentication; circumstantial evidence may serve to
21   demonstrate a document’s authenticity…. [T]he act of production implicitly authenticated
22   the documents.”).
23
24   6
            See Grimm et al., Best Practices for Authenticating Digital Evidence 8 (2016) (“If
25   a document request is sufficiently descriptive, a response to that request may serve in itself
     to authenticate the email, as the act of production may be a concession that the document
26   is what the party asked for—and thus is what the party says it is.”); see also Mark D.
     Robins, Evidence at the Electronic Frontier: Introducing E-mail at Trial in Commercial
27   Litigation, 29 RUTGERS COMPUTER & TECH. L.J. 219, 226-29 (2003) (“Other factors
     that courts frequently consider in authenticating writings and other items will similarly
28   apply to e-mail. These factors include…whether a party produced the document in
     discovery….”).

                                                 -6-
      Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 7 of 26




 1          In United States v. Brown, 688 F.2d 1112, 1115-16 (7th Cir. 1982), Brown was
 2   convicted of conspiracy to embezzle and misapply property belonging to an employment
 3   training program following a trial at which the government introduced business records
 4   produced by Brown as President of Cataract Corporation. On appeal, Brown raised an
 5   authenticity challenge to Cataract’s business records, arguing the “records were
 6   inadmissible at trial because a proper foundation had not been laid,” but the Seventh Circuit
 7   rejected this argument and affirmed Brown’s conviction. As relevant here, the Seventh
 8   Circuit concluded that Brown’s argument was “totally without merit,” explaining:
 9
            Brown produced the documents voluntarily and, as an officer of the
10          corporation, he was in a position to vouch for their authenticity. Just as he
            could have identified the records by oral testimony, his very act of production
11
            was implicit authentication. Moreover, Brown’s counsel, who was clearly
12          acting as an agent of Cataract’s president when he produced the documents,
            concedes that the documents “originate(d) somewhere in some connection
13
            with the corporation.” Tr. at 48. There is ample evidence that the documents
14          were Cataract’s records.
15          Here, like in Brown, Backpage and Ferrer produced approximately 550,000

16   documents to the government and, as Chief Executive Officer of Backpage, Ferrer was in

17   a position to vouch for their authenticity. While Ferrer could authenticate each of these

18   records orally at trial, his very act of producing the records was implicit authentication.

19   Likewise, DWT conceded that the documents originated with Backpage. (Exhibit B.)

20          In sum, the Court should find that the requisite showing of authenticity has been

21   met for emails the government is seeking to admit because of the emails’ distinctive

22   characteristics and because Backpage and Ferrer produced a large portion of these emails

23   to the government.

24          b.     The Emails Are Admissible Because Exceptions to The Hearsay Rules

25                 Apply

26          Any objection from the defense to the admission of the intra-Backpage emails on

27   hearsay grounds should be rejected. As discussed below, each email falls outside the

28   definition of hearsay for one or more reasons. Additionally, some of the emails are being


                                                 -7-
      Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 8 of 26




 1   offered for non-hearsay purposes.
 2                  i.    Party-Opponent Admission
 3          First, any email sent by one of the Defendants falls outside the definition of hearsay
 4   because it qualifies as a party-opponent admission under Rule (801)(d)(2)(A). In re
 5   Homestore.com Inc. Securities Litigation, 347 F. Supp. 2d 769, 781 (C.D. Cal. 2004)
 6   (“Emails written by a party are admissions of a party opponent and admissible as non-
 7   hearsay under Fed.R.Evid. 801(d)(2)(A).”); Safavian, 435 F. Supp. 2d at 43 (“The
 8   statements attributed directly to Mr. Safavian come in as admissions by a party opponent
 9   under Rule 801(d)(2)(A)….”); Siddiqui, 235 F.3d at 1323 (“Those [emails] sent by Mr.
10   Siddiqui constitute admissions of a party….”).
11                 ii.    Co-Conspirator Statement
12          Second, every email sent by Defendants or by one of the Defendants’ co-
13   conspirators (e.g., Ferrer or Dan Hyer), fall outside the definition of hearsay because they
14   qualify as co-conspirator statements under Rule 801(d)(2)(E). This is because each
15   statement was made by an identified co-conspirator, was made during the course of the
16   charged conspiracy (i.e., between 2004 and April 2018), and was intended to further the
17   conspiracy. See generally Bourjaily v. United States, 483 U.S. 171, 175 (1987) (“Before
18   admitting a co-conspirator’s statement…There must be evidence that there was a
19   conspiracy involving the declarant and the nonoffering party, and that the statement was
20   made “during the course and in furtherance of the conspiracy.”).
21                iii.    Statement of Party’s Agent
22          Third, all of the emails sent by Backpage personnel and independent contractors
23   (such as Monita Mohan, DesertNet, and representatives of public relations firms) are
24   statements of a party’s agent under Rule 801(d)(2)(D) and are therefore admissible against
25   each Defendant as if it were his or her own statement. See Fed.R.Evid. 801(d)(2)(D)
26   (excluding from the definition of hearsay any “statement by the party’s agent or servant
27   concerning a matter within the scope of the agency or employment, made during the
28   existence of the relationship”).


                                                 -8-
         Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 9 of 26




 1            To invoke Rule 801(d)(2)(D), the proffering party bears the burden of establishing
 2   that (1) the statement was made by an “agent” of the opposing party and (2) the statement
 3   concerned a matter within the agent’s scope of employment. Sea-Land Serv., Inc. v. Lozen
 4   Int’l, LLC, 285 F.3d 808, 821 (9th Cir. 2002). Both elements are clearly satisfied here.
 5   First, all Backpage employees qualify as an “agent” because they were employed by
 6   Backpage at the time of the communications. Similarly, Monita Mohan (owner of the
 7   India-based company Backpage hired to moderate “adult” ads) also qualifies as an “agent”
 8   because emails sent by Mohan concerned matters within the scope of her employment (i.e.,
 9   Backpage’s moderation activities).
10            Moreover, representatives of the public relations firms (Culloton Strategies, Sitrick
11   & Company, SSP Blue, and JMS Public Relations) retained by Backpage to assist in
12   handling responses to complaints it often received about sex trafficking activity on the
13   website also qualify as “agents.” (Exhibit C at 3 (“Backpage presents evidence that
14   government executives, law enforcement agencies, and the media began to pressure
15   Backpage in 2010 to improve its efforts to combat sex trafficking activity on its website...
16   Backpage’s outside counsel therefore hired the PR firms to provide that service.”).) 7
17            Metro-Goldwyn-Mayer Studios, Inc, v. Grokster, Ltd., 454 F. Supp. 2d 966, 970-
18   974 (C.D. Cal. 2006), powerfully supports the conclusion that the public relations firm
19   emails qualify for admission under Rule 801(d)(2)(D) under these circumstances. In
20   Groskster, a group of record companies, movie studios, and music publishers sued
21   Groskter claiming his file-sharing software contributed to massive infringement of
22   copyrighted works owned by the companies. Id. at 970. In support of their claim, the
23
24   7
             DWT (counsel for Backpage and Ferrer at the time) produced a number of public
25   relation firm-related emails to the government in compliance with Subpoena 108, but
     argued that others were protected by the attorney-client privilege. Senior District Judge
26   David Campbell largely rejected this argument, finding that Backpage’s communications
     with the aforementioned public relations firms (except SSP Blue) were not subject to the
27   attorney-client privilege and ordering Backpage to produce these records to the
     government. (Exhibit C at 14.) The public relation firm emails the government is seeking
28   to admit at trial were produced to the government by Backpage and Ferrer either prior to,
     or in accordance with, Judge Campbell’s Order.

                                                  -9-
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 10 of 26




 1   companies moved to admit a number of emails from a graphic design professional who
 2   performed work for Groskter. Id. at 973. Groskter admitted that the graphic designer
 3   performed work for it during the relevant time period, but argued that the designer’s emails
 4   do not fall within the ambit of Rule 801(d)(2)(D) because she was an independent
 5   contractor rather than an employee. Id.
 6          The court overruled Groskter’s objection, finding that “a statement is admissible
 7   under Rule 801(d)(2)(D) so long as it is made by an agent within the scope of agency,
 8   regardless of the precise contractual relationship between the agent and the party against
 9   whom the evidence is offered.” Id. at 973-974. The court went on to note that defendants
10   sent a number of emails that indicated that the graphic designer was its agent, and that,
11   regardless of her precise contractual status, her responsibilities were comparable to that of
12   an in-house graphic designer. Id. at 974. The court concluded that all of the graphic
13   designer’s statements were admissible non-hearsay under Rule 801(d)(2)(D). Id. Here, as
14   in Groskter, email exchanges between Defendants and representatives of public relations
15   firms clearly indicate that the public relations firms were Defendants’ “agents” acting
16   within the scope of their employment.
17                iv.     Adoptive Admission
18          The three preceding subsections demonstrate why the intra-Backpage emails are
19   admissible based on the identity and role of the sender. In addition, the circumstances
20   under which these emails were received provides an independent basis for their admission.
21          Specifically, many of the emails are admissible against the recipients as adoptive
22   admissions under Rule 801(d)(2)(B). Under that rule, a statement is not hearsay if it is
23   offered against a party and is “a statement of which the party has manifested an adoption
24   or belief in its truth.” Notably, such an “adoption” can be manifested by silence: “The
25   general rule concerning admissions by silence or acquiescence is well established. When
26   an accusatory statement is made in the defendant’s presence and hearing, and he
27   understands and has an opportunity to deny it, the statement and his failure to deny are
28   admissible against him.” United States v. Moore, 522 F.2d 1068, 1075 (9th Cir. 1975); see


                                                - 10 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 11 of 26




 1   also United States v. Gil, 58 F.2d 1414, 1420 (9th Cir.1995), (“[I]t’s not a question of the
 2   court weighing the evidence at this time and deciding whether the showing [that a statement
 3   is adopted by silence] is strong or weak. The court merely needs to decide that there is a
 4   substantial enough showing to present the issue to the jury for them to perform that
 5   weighing function.”).
 6          The intra-Backpage emails contain numerous examples of adoptive admissions. For
 7   instance, one of the intra-Backpage emails that is admissible as an adoptive admission is
 8   Exhibit 176: a November 6, 2013 email from Ferrer to Defendants James Larkin
 9   (“Larkin”), Jed Brunst (“Brunst”), and Scott Spear (“Spear”) that included as an attachment
10   a PowerPoint presentation entitled Executive Meeting Items. This PowerPoint presentation
11   discussed strategies for fooling credit card companies into believing that Backpage-
12   associated charges were being incurred on different websites, including a proposal to set
13   up shell companies without any apparent connection to Backpage (“create new companies
14   with new principals”) and use their bank accounts to accept payment. Another “solution”
15   was to “allow users to fund an account thru several other sites” that “have no adult or
16   images.” Neither Larkin, Brunst, nor Spear ever emailed back to disagree with Ferrer’s
17   ideas and assertions.
18          Another email that is admissible as an adoptive admission is Exhibit 177: a March
19   10, 2014 email exchange between Defendants Brunst, Spear and others with the subject
20   line “Website Technologies vs Backpage (Vendors, audits, risk assessments, email.)”
21   During this exchange, one person stated, “Carl Ferrer and I were just discussing company
22   names and the possibility of updating our email addresses to websitetechnologies.com.” In
23   response, Brunst cautioned: “We need to think this thru or all the work to separate it
24   from BP will be lost.” Spear never emailed back to disagree with Brunst’s assertion about
25   their work to make it appear that Backpage and Website Technologies were independent
26   entities. This email is a textbook example of an email that is admissible against defendants
27   as an adoptive admission.
28


                                                - 11 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 12 of 26




 1          Further, another example of an adoptive admission is Exhibit 58: an October 16,
 2   2010 email from Defendant Padilla to a large group of Backpage employees, including
 3   Defendant Vaught as well as Ferrer and Hyer. The email had two attachments that provided
 4   guidance on how to “moderate” ads. The first was a PowerPoint presentation that displayed
 5   a series of 38 nude and partially-nude photographs, some of which depicted graphic sex
 6   acts. Next to each picture was an instruction as to whether it should be approved or
 7   disapproved by a Backpage moderator. These instructions included: “Approve. Nude rear
 8   shots are okay as long as the model is not exposing her anus or genitalia.” And
 9   “Approve. Rear shot okay. Transparent wet panties okay.” The second was an Excel
10   spreadsheet identifying 50 terms indicative of prostitution that should be “stripped” from
11   ads before publication. Padilla concluded the email by stating: “[I]t’s the language in ads
12   that really killing us with the Attorneys General. Images are almost an afterthought
13   to them.” Vaught did not email back to disagree with Padilla’s guidance on how to
14   “moderate” ads. This email is yet another example of an email that is admissible against
15   Defendants as an adoptive admission. 8
16          Courts have not hesitated to admit evidence of admissions-through-silence under
17   analogous circumstances. For example, in United States v. King, 560 F.2d 122 (2nd Cir.
18   1977), Boucher was charged with engaging in fraudulent real estate transactions involving
19   mispriced land. Id. at 124-25. At trial, the government sought to introduce evidence that,
20   during a meeting that occurred after one transaction, Boucher’s co-worker admitted the
21   pricing was “ridiculous” and Boucher “heard that remark and said nothing in response.”
22   Id. at 134-35. The district court admitted the evidence over Boucher’s hearsay objection
23   and the Second Circuit affirmed, explaining that under the “circumstances…it was more
24   reasonably probable than not that a man would answer the charge made against him than
25   that he would not.” Id. See also United States v. Wiseman, 814 F.2d 826, 828-29 (1st Cir.
26
27
     8
28          These three emails are also admissible against all of the Defendants because they
     qualify as party-opponent admissions and as co-conspirator statements.

                                               - 12 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 13 of 26




 1   1987) (admitting the defendant’s silence after he was introduced as “Mac,” who was
 2   brought up to put “junk” on the streets, and failed to respond to or correct the introduction);
 3   United States v. Hoosier, 542 F.2d 687, 687 (6th Cir. 1976) (admitting the defendant’s
 4   silence where his girlfriend, in his presence, stated that they had a significant amount of
 5   money in their hotel room after robbing a bank).
 6                 v.      Not Offered for Truth
 7                 Finally, many of the intra-Backpage emails also are admissible to show the
 8   Defendants’ notice, knowledge, state of mind, intent, and pattern of communication. For
 9   example, many of the emails discuss complaints from customers that text and images
10   indicative of prostitution were being removed from their ads by Backpage staff prior to the
11   ad being posted on Backpage. Other emails discuss inquiries from customers about their
12   inability to pay for “adult” ads using credit cards because companies had stopped
13   processing payments for Backpage out of concern these transactions were being used for
14   illegal purposes (i.e., prostitution and sex trafficking). And others simply detail the sheer
15   volume of prostitution and sex trafficking (including the sex trafficking of children)
16   facilitated through Backpage. Courts have repeatedly recognized that email evidence may
17   be admitted for these legitimate non-hearsay purposes. Safavian, 435 F.Supp. 2d at 44-45
18   (“[A] number of the e-mails are admissible under Rule 803(3) to show Mr. Safavian’s state
19   of mind at the time he received them. . . . Other e-mails provide context for the defendant’s
20   statements. . . . Still others are non-hearsay because the truth of the emails’ contents. . .are
21   unimportant. It is the fact of these discussions rather than their contents . . .that is being
22   offered by the government.”); United States v. Tamura, 694 F.2d 591, 598 (9th Cir. 1982)
23   (holding that telexes received by defendant were admissible “for the nonhearsay purpose
24   of showing [Tamura’s] knowledge of the scheme”).
25   II.    The Admissibility Of Other Intra-Backpage Documents Produced In
26          Discovery
27          The discovery in this case also contain additional documents that were not attached
28   to emails produced to the government by Backpage and Ferrer in response to Subpoena


                                                  - 13 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 14 of 26




 1   108. These documents include (1) internal PowerPoint presentations bearing Backpage’s
 2   name; (2) documents prepared for Backpage by consulting firms concerning Backpage’s
 3   business plans; (3) performance appraisals (i.e., audits) for Backpage moderators; (4) letter
 4   correspondence from the public, regulators, and law enforcement urging Backpage to
 5   shutdown the “adult” section of the website; and (5) a purported 2014 Letter of Intent for
 6   Sale of Membership Interest in Backpage and related entities and a 2015 Purchase and Sale
 7   Agreement signed by Defendants. The United States intends to introduce many of these
 8   documents into evidence at trial. In some cases, this evidence will be introduced through
 9   a trial witness who personally sent or received the document in question. As in the case of
10   emails, no foundational questions should arise in those circumstances. See Fed. R. Evid.
11   901(b)(1).
12          In other cases, however, the United States does not anticipate calling the sender or
13   recipients of these documents as a trial witness and respectfully requests the Court make a
14   pretrial ruling that all documents falling into this category are admissible. To start, these
15   documents satisfy the authentication requirements of Rule 901(a) because they were
16   produced to the government by Backpage and Ferrer or they contain other distinctive
17   characteristics that show that they are what they purport to be. (See Part I, supra.) Further,
18   each document falls outside the definition of hearsay for one or more reasons.
19   Additionally, some of these documents are being offered for non-hearsay purposes.
20          a.     Intra-Backpage PowerPoint Presentations
21          The intra-Backpage PowerPoint presentations bear Backpage’s name and/or logo
22   and therefore are admissible as co-conspirator statements under Rule 801(d)(2)(E) because
23   Backpage (an identified coconspirator) has pleaded guilty to conspiring to commit money
24   laundering. See United States v. Backpage.com, LLC, CR-18-PHX-SMB, Docs. 8 and 8-
25   2. Alternatively, the PowerPoint presentations are admissible as non-hearsay to show
26   Backpage’s state of mind. Grokster, 454 F. Supp.2d at 974 (“Plaintiffs have proffered
27   numerous documents, produced by [defendant] StreamCast, that appear to be business
28   plans and PowerPoint presentations.        These documents are not attached to emails.


                                                 - 14 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 15 of 26




 1   StreamCast objects to them on hearsay grounds. Documents that bear StreamCast’s trade
 2   names, logos, and trademarks are statements by StreamCast itself, and are admissible as
 3   admissions by a party-opponent under Rule 801(d)(2), or alternatively as non-hearsay to
 4   show StreamCast’s state of mind. These include but are not limited to PowerPoint
 5   presentations.”)
 6          b.     Performance Appraisals
 7          Between 2011 and 2012, a number of Backpage moderators (who were supervised
 8   by Padilla and Vaught) underwent performance appraisals (i.e., audits).                 These
 9   performance appraisals are admissible as an admission by a party opponent or as
10   coconspirator statements. Defendants Padilla and Vaught were Backpage employees at the
11   time they completed the performance evaluations. And the task of evaluating employees
12   was certainly within the scope of their employment.
13           Relatedly, to the extent the performance appraisals were completed by other
14   Backpage employees, these appraisals are admissible as statements of Backpage’s agent
15   under 801(d)(2)(D). 9 (See Part I, supra.)
16          c.     Consulting Firm Documents
17          Additionally, documents prepared for Backpage and related entities by consulting
18   firms (e.g., BDO Consulting, and Duff and Phelps) constitute statements of Backpage’s
19   “agent” under 801(d)(2)(D) and are therefore admissible against Defendants as if it were
20   their own statement. (See Part I, supra.) First, BDO Consulting and Duff and Phelps
21   qualify as an “agent” because the firms were hired by Backpage to perform work related
22   to its business operations. Further, the documents these firms prepared for Backpage
23   concerned matters within their respective scopes of employment. For instance, the first
24
25   9
             Alternatively, the PowerPoint presentations and performance appraisals produced
26   by Backpage and Ferrer not attached to emails are also admissible as business records
     under Rule 803(6). It is anticipated that Ferrer will testify that he is: (1) familiar with the
27   contents and preparation of these categories of records; (2) that these records were made at
     or near the time of the occurrence of the matters; (3) that these records were kept in the
28   regular course of Backpage’s regularly conducted activity; and (4) were made in the course
     of the regularly conducted activity as a regular business practice.

                                                  - 15 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 16 of 26




 1   sentence of Exhibit 7 (a document prepared by BDO Consulting entitled Fair Market Value
 2   of the Common Equity of Medalist Holdings, Inc.) states “Dear Mr. Brunst: At your
 3   request, BDO Consulting was retained to assist with estimating the fair market value of the
 4   common stock of Medalist Holdings, Inc. . . .” Similarly, the first sentence of Exhibit 498
 5   (a document prepared by Duff and Phelps entitled Backpage.com, LLC Confidential
 6   Information Memorandum June 2011) reads “Duff and Phelps Securities has been retained
 7   by Backpage.com LLC to serve as its exclusive financial advisor in connection with the
 8   potential sale.”
 9          d.     Letter Correspondence Sent to Backpage and Defendants
10          A number of letters sent to Backpage and Defendants from the public, regulators,
11   and law enforcement are admissible under 803(3) to show the Defendants’ notice,
12   knowledge, state of mind, intent, and pattern of communication. For example, these letters
13   discuss that the vast majority of the “adult” and “escort” ads appearing on Backpage were
14   actually ads for prostitution (including the prostitution of children) and urged Backpage to
15   shutter the “adult” section of its website. See Exhibit 52 at 1, September 21, 2010 letter
16   from the National Association of Attorneys General (NAAG) to Backpage’s public
17   relations representative Sam Fifer “ads for prostitution—including ads trafficking
18   children—are rampant on the site” and argued “we to[o], call on Backpage to listen,
19   to care, and respond now by shutting down the adult services section of its website”;
20   see also Exhibit 140 at 1-2, January 5, 2011 letter from Auburn Seminary to Defendants
21   Lacey and Larkin, among others, “a cursory glance at Backpage.com reveals that
22   paying customers are regularly posting ads that sell sex,” . . . “we think the immediate
23   action of permanently shutting down Backpage’s Adult Section is required”; see also
24   Exhibit 116 at 1, August 5, 2011 letter from the Mayor of Seattle, Washington, to Carl
25   Ferrer and Backpage “Your company is in the business of selling sex ads.”
26          Letters to Backpage also discussed the prevalence of women and children being sold
27   for sex through the promotion of their ads on Backpage. See Exhibit 52 at 1, “It is time
28   for the company . . . [to] take immediate action to end the misery of the women and


                                                - 16 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 17 of 26




 1   children who may be exploited and victimized by these ads”; see also Exhibit 119 at 1,
 2   August 31, 2011 letter from NAAG to Backpage’s public relations representative Sam
 3   Fifer, “we are increasingly concerned about human trafficking, especially the
 4   trafficking of minors. Backpage is a hub for such activity”; see also Exhibit 140 at 2;
 5   “Minors continue to be sold for sex by others posting advertisements on Backpage.”
 6          Lastly, Exhibit 8, December 2014 Letter of Intent for (purportedly) Sale of
 7   Membership Interest in Dartmoor Holding and Exhibit 9, purported April 2015 Purchase
 8   and Sale Agreement were signed by Defendants; thus, these documents are admissible as
 9   party-opponent admissions and as coconspirator statements.
10          e.     Summary
11          In sum, the United States respectfully requests the Court hold that exhibits 2-13, 15-
12   20, 22-24, 26-28, 31-75, 79-84, 86-87, 89-98, 102-106, 108-110, 112-120, 122-126, 128-
13   131, 133-151, 153-159, 161-173, 175-181, 183, 185, 187-190, 193-210, 231-259, 261-310,
14   315-457, 471, 480, 486-487, and 498-503 (See Exhibit A attached hereto and submitted to
15   the court separately) are admissible. It is also requested that the Court further clarify that
16   these documents may be introduced at trial through a government agent or other summary
17   witness. Safavian, 435 F. Supp.2d at 42 (“The jury may draw whatever reasonable
18   conclusions and inferences it chooses to from these e-mails and how to consider them, but
19   the Court will not permit any testimony beyond the bare fact of what words appear on a
20   particular e-mail by a case agent or summary witness who neither composed nor received
21   these emails.”).
22   III.   Business Records Pursuant to Fed.R.Evid. 902(11) Certification
23          a.     Bank Records
24          The United States intends to introduce several categories of bank records at trial
25   including (a) records from Backpage-related bank accounts; and (b) records from
26   Defendants’ personal bank accounts. The statements for these accounts are too voluminous
27   to provide as attachments to this motion but have been provided to defense counsel. (See
28   CR 889-1.)


                                                 - 17 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 18 of 26




 1          The Court should hold that these exhibits are business records admissible under Fed.
 2   R. Evid. 803(6). Fed. R. Evid. 902(11) provides that certified domestic records of regularly
 3   conducted activities can be self-authenticating and therefore admissible under Rule 803(6)
 4   if accompanied by written declaration from a records custodian or other qualified person
 5   certifying that the records: (a) were made at or near the time of the occurrence of the matters
 6   set forth by, or from, information transmitted by a person with knowledge of those matters;
 7   (b) were kept in the course of the regularly conducted activity; and (c) were made in the
 8   course of the regularly conducted activity as a regular business practice. With respect to
 9   these records, the United States has obtained certificates of authenticity from the respective
10   issuing banks and provided these certifications to defense.
11          b.     Backpage-related Meeting Agendas
12          Throughout the course of the conspiracy, Defendants held meetings to discuss
13   Backpage-related developments.       Agenda items for these meetings discussed certain
14   topics—including (a) Backpage’s intention to “Trade with TER [The Erotic Review]” in
15   order to increase traffic in its “adult” section; (b) updates on previous efforts to create a
16   business partnership with The Erotic Review; (c) Backpage’s consideration of a “move
17   offshore” to “minimize restrictions” and “allow more skin”; and (d) various “aggregation”
18   updates. See Exhibits 14, 21, 23, 30, and 101.
19          At trial, it is anticipated that Ferrer will testify that he provided the meeting agendas
20   to the government and is familiar with their contents and their preparation. Ferrer will also
21   testify that it was regular practice for meeting agendas to be created at or near the time of
22   the meetings, and, as CEO of Backpage, his typical practice was to keep these agendas in
23   the course of Backpage’s regularly conducted business. Based on this foundational
24   testimony, the United States will seek to admit a number of meeting agendas into evidence.
25          The United States anticipates Defendants may oppose the admission of these
26   meeting agendas by raising a hearsay objection. The Court should reject any such objection
27   and find that the agendas are admissible as business records under Rule 803(6) of the
28   Federal Rules of Evidence. As noted above, the necessary foundation exists for admission


                                                 - 18 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 19 of 26




 1   under Rule 803(6) because (1) the agendas were made by a person with knowledge (i.e.
 2   Ferrer) at or near the time of the meetings; and (2) the agendas were created and maintained
 3   in the course of Backpage’s regularly-conducted business activity. United States v. Miller,
 4   771 F.2d 1219, 1237 (9th Cir. 1985) (“A writing is admissible under Fed.R.Evid. 803(6) if
 5   two foundational facts are proved: (1) the writing is made or transmitted by a person with
 6   knowledge at or near the time of the incident recorded, and (2) the record is kept in the
 7   course of regularly conducted business activity.”). A witness does not have to be the
 8   custodian of documents offered into evidence to establish Rule 803(6)'s foundational
 9   requirements. United States v. Ray, 930 F.2d 1368, 1370 (9th Cir. 1991); see also Bergen
10   v. F/V St. Patrick, 816 F.2d 1345, 1353 (9th Cir. 1987), modified on other grounds, 866
11   F.2d 318 (9th Cir.), cert. denied, 493 U.S. 871 (1989). “The phrase ‘other qualified witness'
12   is broadly interpreted to require only that the witness understand the record-keeping
13   system.” Ray, 930 F.2d at 1370 (“A review of the record indicates that the former
14   employees were familiar with the contents and preparation of the exhibits in question. It
15   was not an abuse of discretion to allow the former employees to lay the foundation for
16   these exhibits.”).
17          c.      Google Analytics Reports
18          Throughout the course of the conspiracy, Defendants were routinely briefed about
19   Google Analytics reports, which provided snapshots of which other websites were referring
20   users to Backpage. These Google Analytics reports confirmed that The Erotic Review
21   (TER) was playing a crucial role in driving traffic to Backpage. For example, the monthly
22   report for January 2009 stated that TER was the #1 outside source of referrals and was
23   responsible for over half a million visits that month. The daily report for March 22, 2010
24   showed that TER was responsible for referring more than 40,000 daily visits to
25   Backpage—more than six times as many as the next-biggest referral source.
26          At trial, it is anticipated that Carl Ferrer and/or Dan Hyer will testify that as CEO
27   and Sales and Marketing Director, respectively, it was regular practice for Backpage to
28   create “Google Analytics” Reports and that these reports were kept in the course of


                                                - 19 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 20 of 26




 1   Backpage’s regularly conducted activities. Ferrer and/or Hyer will also testify that it was
 2   regular practice for Backpage to create these “Google Analytics” reports on a daily,
 3   weekly, and monthly basis. Based on this foundational testimony, the United States will
 4   seek to introduce a number of “Google Analytics” reports at trial. See Exhibits 311, 312,
 5   313, and 314.
 6          d.       Backpage Stories
 7          Beginning in at least 2010, Defendants created, maintained, and periodically
 8   updated a spreadsheet that included a compilation of news articles discussing Backpage.
 9   See Exhibit 260. This spreadsheet comprised more than 5,600 news articles and included
10   sections entitled “good articles” and “big pieces and articles.” This spreadsheet also
11   contained contact information for various members of the media. At trial, it is anticipated
12   that Carl Ferrer and/or Dan Hyer will testify that as CEO and Sales and Marketing Director,
13   respectively, Backpage created this spreadsheet as a normal course of business, that these
14   spreadsheets were kept in the course of Backpage’s regularly conducted activities, and that
15   it was regular practice for Backpage to periodically update this spreadsheet. Based on this
16   foundational testimony, the United States will seek to introduce this “Backpage Stories”
17   spreadsheet at trial.
18                   i.    Ads Obtained From Wayback Machine, Unchartered Inc., and
                           Backpage.com; Video of Backpage.com Recorded by Special
19                         Agent Brian Fichtner
20                            1. Wayback Machine
21          The United States intends to introduce historical ads from Backpage.com obtained
22   from the Wayback Machine. (See Exhibit D, filed under seal.) The Wayback Machine is
23   a service created by the Internet Archive, a website that provides access to a digital library
24   of Internet sites and other cultural artifacts in digital form. Id. Wayback Machine makes
25   it possible to surf more than 450 billion pages stored in the Internet Archive’s web archive.
26   Id. The chronological records are compiled by routinely taking screenshots of websites as
27   they exist on various days, which then become searchable through the Wayback Machine.
28   Id.


                                                 - 20 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 21 of 26




 1          To start, the Court should take judicial notice of the ads obtained from the Wayback
 2   Machine under Fed. R. Evid. 201, as other courts commonly have done. See Orozco v.
 3   Fresh Direct, LLC, No 15-CV-8226, 2016 WL 5416510, n. 8, 9 (S.D.N.Y. Sept. 27, 2016)
 4   (the court relied upon the Wayback Machine to view screenshots of the defendant’s
 5   website). In Under A Foot Plant Co. v. Exterior Design, Inc., No. 6:14-cv-01371-AA,
 6   2015 WL 1401697, at *2 (D. Or. Mar. 24, 2015), the Court noted that “District Courts have
 7   routinely taken judicial notice of content from” the Wayback Machine. See, e.g., Pond
 8   Guy, Inc. v. Aquascape Designs, Inc., 2014 WL 2863871, *4 (E.D. Mich. June 24, 2014);
 9   Martins v. 3PD, Inc., 2013 WL 1320454, *16 (D. Mass. Mar. 28, 2013) (the court took
10   judicial notice of various historical versions of the defendant’s website obtained from the
11   Wayback Machine); In re Methyl Tertiary Butyl Ether (MTBE) Products Liab. Litig., 2013
12   WL 6869410, *4 (S.D.N.Y. Dec. 30, 2013) (noting that “courts have taken judicial notice
13   of the contents of internet archives.”).
14          In Marten Transport, Ltc. V. Platform Advertising, Inc., No. 2:14-cv-02464, Dkt.
15   180, 2016 WL 1718862, *1-2 (D. Kan. Apr. 29, 2016), plaintiff filed a motion in limine
16   prior to trial seeking the court’s admission of screenshots of the defendant’s websites
17   obtained from the Wayback Machine. Id. at 5. The plaintiff argued the screenshots were
18   authenticated under Fed R. Evid. 901 through the declaration of an employee of the
19   Wayback Machine, who gave testimony that the screenshots were true and accurate
20   electronic copies of webpages archived by the Wayback Machine. Id. The plaintiff also
21   argued the court should take judicial notice of the webpage screenshots under Fed. R. Evid.
22   201. Id. The court ruled that the employee’s testimony was sufficient to lay a proper
23   foundation under Rule 901. Id. Significantly, however, the court went on to hold that
24   authentication was not necessary and that it not only could, but must take judicial notice of
25   the screenshots. Id. at 6-8. In deciding the question of judicial notice, the court noted that
26   the defendant offered no reason to believe that the Wayback Machine adds information to
27   the screenshots at the time those screenshots were captured, therefore, the accuracy of those
28   screenshots could not reasonably be questioned. Id.


                                                 - 21 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 22 of 26




 1          Additionally, courts have concluded that authentication of screenshots obtained
 2   from the Wayback Machine may be accomplished by affidavits from Internet Archive
 3   employees. See, e.g., Bacon v. Avis Budget Group Inc., 357 F. Supp. 3d 401 (D.N.J. 2018)
 4   (suggesting that materials obtained from the Wayback Machine may be admissible if
 5   properly authenticated with an affidavit from Internet Archive employees); U.S. v. Bansal,
 6   663 F.3d 634, 667-68 (3d Cir. 2011) (finding that screenshots obtained from the Wayback
 7   Machine were admissible if authenticated by an Internet Archive employee).
 8          Here, the United States has obtained a written affidavit from a Wayback employee
 9   for all ads it is seeking to introduce obtained from the Wayback Machine. Therefore, these
10   records are admissible as business records under Fed. R. Evid. 803(6). (See Part III, supra.)
11                            2. Uncharted Inc., and Backpage.com Ads
12          In addition to ads from WayBack Machine, the United States intends to introduce
13   ads obtained from Uncharted Software, Inc., 10 and from Backpage.com prior to its
14   shutdown. The United States has obtained business record certifications for these ads from
15   a records custodian or other qualified witness. (See Exhibits E and F, filed under seal.)
16   Thus, like the Wayback Machine ads, the Court should also find these exhibits admissible
17   as business records under Fed. R. Evid. 803(6).
18                            3. Video of Backpage.com Recorded by SA Fichtner
19          In March 2015, California Department of Justice (CalDOJ) Special Agents Brian
20   Fichtner and Tera Mackey conducted an undercover operation on Backpage.com
21   (Backpage). (Exhibit G, May 23, 2019 Declaration of Brian Fichtner ¶ 4.) 11 To learn about
22   the Backpage user experience, the operation involved reviewing the Sacramento section of
23
24
     10
25          Uncharted Software, Inc., is an Internet Technology services and computer software
     company that developed TellFinder, a tool designed to explore domain-specific web crawls
26   using graph analysis and multi-modal visualization. Similar to the Wayback Machine,
     archived data made viewable by TellFinder is compiled using software known as web-
27   crawlers. See https://uncharted.software/
     11
28          Exhibit G (along with the attached DVD) is being separately provided to the Court
     under seal.

                                                - 22 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 23 of 26




 1   Backpage and comparing posting an ad in Backpage’s fee-based “adult” section versus
 2   Backpage’s free non-adult section. (Fichtner Decl. ¶ 4.) As part of the operation, on March
 3   6, 2015, SA Fichtner posted two fictional undercover advertisements: One offered adult
 4   companionship for money in the “escort” category of the adult section, and the other listed
 5   a sofa for sale in the “buy, sell, trade” section. (Fichtner Decl. ¶ 5.) SA Fichtner recorded
 6   his review of the Sacramento section of Backpage and posting of both ads on March 6,
 7   2015 using FastStone, a video capture tool that created a file entitled “Video_ 20 l 5-03-
 8   06-091756.wmv” (the video). (Fichtner Decl. ¶ 6.) He saved the video on a compact disc
 9   and booked it into evidence as part of his investigation. (Fichtner Decl. ¶ 6.) The video
10   contains a fair and accurate depiction of the Backpage webpages that SA Fichtner visited
11   on March 6, 2015. (Fichtner Decl. ¶ 6.)
12          The United States intends to call SA Fichtner to testify regarding the foregoing
13   CalDOJ operation and the video, and to lay appropriate foundation for admission of the
14   video. The video memorializes SA Fichtner’s review of the website and the placement of
15   undercover ads in the adult-escort and buy-sell-trade sections. It also shows how a user
16   browsing through the Sacramento adult-escort section of Backpage on March 6, 2015
17   would have encountered pages and pages of adult ads that overwhelmingly consisted of
18   express or readily-implied prostitution ads. When assessed under Fed. R. Evid. 401, the
19   video is highly relevant to demonstrating how the Sacramento adult-escort and buy-sell-
20   trade sections of Backpage looked and operated at the time of the recording. The probative
21   value of the video is not substantially outweighed by any considerations in Fed. R. Evid.
22   403. The video is not cumulative of the other evidence (such as individual ads the
23   government intends to offer at trial) and the video is not unfairly prejudicial. Rather, the
24   video truthfully shows how the Sacramento adult-escort and buy-sell-trade sections of
25   Backpage appeared at the time of the recording and the jury is entitled to see this well-
26   preserved example of how the website appeared to users.
27
28


                                                - 23 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 24 of 26




 1   IV.    Documents Produced by Counsel for Michael Lacey
 2          On April 18, 2018, the Arizona District Court granted the government’s Motion to
 3   Compel Compliance with Grand Jury Subpoena based on Crime-Fraud Exception ordering
 4   Defendant Lacey’s then counsel to produce to the grand jury, among other things, all bank
 5   records concerning the receipt of $16.5 million in wire transfers from Defendant Lacey and
 6   transmission of a $16.5 million wire to Hungary. In compliance with this order, Lacey’s
 7   counsel produced a six-page document to the government. (See Exhibit 1.) This document
 8   contains a July 2016 email from Lacey to his counsel seeking assistance in “put[ting] some
 9   of his assets in place[s] where…government parties…can not access [my] accounts.”
10   Exhibit 1, at 4-5. A few months later, Lacey asked employees of an Arizona-based bank
11   for advice on how to move his assets “offshore” to protect them from seizure by the
12   government. (SSI ¶ 16). Soon afterward, $16.5 million in Backpage-derived cash was
13   wired from Lacey’s bank accounts in the United States to an overseas bank account in
14   Hungary. (SSI ¶ 16). At the time of the Hungarian transfer, Lacey was facing criminal
15   charges in California state court and was aware of the federal grand jury investigation in
16   this matter. (SSI ¶ 16).
17          The Court should find that the requisite showing of authenticity has been met for
18   these documents because Lacey’s counsel produced these documents to the government.
19   Further, the July 2016 email is admissible as admissions by a party opponent.
20   V.     Summary Exhibits
21          The United States intends to present records of summary exhibits at trial. These
22   exhibits include the following: (1) “Compensation” charts, which summarizes Defendant’s
23   Backpage-derived compensation; (2) “Revenue” charts, which summarizes Backpage’s
24   annual earnings, and specifically, earnings from “adult” advertisements; and (3) flowcharts
25   outlining how Backpage-generated proceeds flowed through various entities (e.g., Website
26   Technologies, Camarillo, Cereus Properties, etc.). Many of these summary exhibits were
27   provided to Defendants on January 24, 2020 and April 9, 2020, respectively.            The
28   government will produce any remaining summary exhibits to Defendants within a


                                               - 24 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 25 of 26




 1   reasonable time prior to trial.
 2          The United States respectfully requests the Court find that these exhibits are
 3   admissible under Rule 1006, which provides that evidence may be admitted “in the form
 4   of a chart, summary, or calculation” where “[t]he contents of voluminous writings,
 5   recordings, or photographs . . . cannot conveniently be examined in court.” For a summary
 6   chart to be admissible under Rule 1006, “[a] proponent … must establish that the
 7   underlying materials upon which the summary is based (1) are admissible in evidence and
 8   (2) were made available to the opposing party for inspection. These materials must be
 9   admissible, but need not themselves be admitted into evidence.” United States v. Rizk, 660
10   F.3d 1125, 1130 (9th Cir. 2011). Here, both of these requirements are satisfied.
11          First, the documents on which the exhibits are based—intra-Backpage records, the
12   records from Backpage’s many bank accounts, and the records from Defendants’ bank
13   accounts—are themselves admissible. In fact, the United States intends to offer those
14   documents into evidence at trial in addition to offering the summary exhibits. United States
15   v. Milkiewicz, 470 F.3d 390, 397 (1st Cir. 2006) (“the summary may be admitted in addition
16   to the underlying documents to provide the jury with easier access to the relevant
17   information”). Second, the underlying documents have been produced in discovery.
18          For these reasons, the Court should issue a ruling that the government’s summary
19   exhibits are admissible under Rule 1006. The documents they summarize are voluminous
20   and encompass thousands and thousands of pages. Courts have recognized that summary
21   exhibits are particularly appropriate under these circumstances. United States v. Kelley,
22   105 F.2d 912, 918 (2d Cir. 1939) (“The prosecution’s accountants were allowed to present
23   their calculations from the books and returns in evidence. This kind of evidence when
24   based upon documents themselves competent and accessible, is always admissible, a jury
25   without such guidance would be totally unable to cope with complicated accounts.”).
26   VI.    Conclusion
27          Based on the foregoing, the United States respectfully requests the Court make a
28   pretrial determination that the evidence contained within the five aforementioned


                                                - 25 -
     Case 2:18-cr-00422-DJH Document 916 Filed 04/17/20 Page 26 of 26




 1   categories are admissible at trial.
 2          Respectfully submitted this 17th day of April, 2020.
 3                                            BRIAN BENCZKOWSKI
                                              Assistant Attorney General
 4                                            Criminal Division, U.S. Department of Justice
 5                                            s/Reginald E. Jones
                                              REGINALD E. JONES
 6                                            Senior Trial Attorney
                                              U.S. Department of Justice, Criminal Division
 7                                            Child Exploitation and Obscenity Section
 8                                            MICHAEL BAILEY
                                              United States Attorney
 9                                            District of Arizona
10                                            KEVIN M. RAPP
                                              MARGARET PERLMETER
11                                            PETER S. KOZINETS
                                              ANDREW C. STONE
12                                            Assistant U.S. Attorneys
13                                            JOHN J. KUCERA
                                              Special Assistant U.S. Attorney
14
15
16
17
                                   CERTIFICATE OF SERVICE
18
19          I hereby certify that on this same date, I electronically transmitted the attached
20   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
21   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
22   as counsel of record.
23
     s/ Marjorie Dieckman
24   Marjorie Dieckman
     U.S. Attorney’s Office
25
26
27
28


                                               - 26 -
